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 1    Michael John Avenatti (Pro Se)
 2    H. Dean Steward, SBN 85317
      17 Corporate Plaza, Suite 254
 3    Newport Beach, California 92660
      Tel (949) 481-4900
 4    Fax (949) 497-6753
 5    Advisory Counsel for Defendant
      MICHAEL JOHN AVENATTI
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 7
                               UNITED STATES DISTRICT COURT
 8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                      SA CR No. 19-061-JVS
11                Plaintiff,                         DEFENDANT’S MOTION FOR
12                       v.                          MISTRIAL DUE TO PURPOSEFUL
                                                     GOVERNMENTAL VIOLATIONS OF
13    MICHAEL JOHN AVENATTI,                         FEDERAL RULE OF EVIDENCE 615
14                Defendant.
15
16
17          Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
18    advisory counsel of record, H. Dean Steward, hereby moves and files his Motion for a
19    Mistrial Due to Purposeful Governmental Violations of Federal Rule of Evidence 615.
20    Defendant’s motion is based on the attached memorandum of points and authorities; the
21    evidence referenced in the attached; the files, records and transcripts in this case and the
22    other cases cited herein; and such further evidence and argument as the Court may
23    permit at a hearing on this matter.
24
25     Dated: August 11, 2021                    Respectfully submitted,
                                                /s/ Michael J. Avenatti
26
27                                               Defendant
                                                 MICHAEL JOHN AVENATTI
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
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 3    I.     INTRODUCTION AND FACTUAL BACKGROUND
 4           Prior to opening statements and in anticipation of his case-in-chief, defendant
 5    Michael John Avenatti (“Mr. Avenatti”) served trial subpoenas on five government
 6    agents, including Special Agents Remoun Karlous, James Kim, and Ryan Roberson.
 7    Messrs. Karlous, Kim and Roberson were all served on July 14, 2021. Each of the agents
 8    actively participated in the investigation of this case, gathered evidence in connection
 9    with this case, and/or had considerable interactions with witnesses in this case
10    concerning the subject matter(s) of their testimony. On July 16, 2021, defendant moved
11    for an order pursuant to Rule 615 requiring all trial witnesses, including all government
12    agents subpoenaed by the defense, to be excluded from the courtroom. [Dkt. 545.]
13           On July 21, 2021, at the urging of the government and over the objection of the
14    defendant, the Court deemed the subpoenas of the agents “ineffective” due to
15    defendant’s failure to comply with the Touhy regulations. See, e.g., Trial Tr. (7/21/21,
16    Vol. 1), p. 15-16. At the request of AUSAs Sagel and Wyman, Special Agent Kim and
17    Special Agent Roberson proceeded to be present in the courtroom at all relevant times,
18    including to listen the testimony of witnesses, on July 21, 2021, July 22, 2021, July 23,
19    2021, July 27, 2021, July 28, 2021, July 29, 2021, and July 30, 2021 (the first seven trial
20    days). The agents’ presence was even referenced during the testimony of several
21    witnesses. See, e.g., Trial Tr. (7/21/21, Vol. 1) p. 60-61; Trial Tr. (7/21/21, Vol. 2) p. 12,
22    13, 17, 67, 104, 107, 108; Trial Tr. (7/23/21, Vol. 1) p. 69, 91; Trial Tr. (7/23/21, Vol. 2)
23    p. 7, 96.
24           On July 31, 2021, Mr. Avenatti filed a “Motion for Reconsideration of the Court’s
25    Order Deeming Defendant’s Five Subpoenas Served on Government Agents Ineffective
26    due to Failure to Comply with Touhy Regulations.” [Dkt. 614]. In his motion, the
27    defendant explained that the government had led the Court to commit reversible error
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 1    under the law of the Ninth Circuit. On August 2, 2021, the government filed an
 2    Opposition. [Dkt. 630].
 3          On August 3, 2021, the Court heard the defendant’s motion. The Court ruled,
 4    “The Court summarily in effect quashed the subpoenas based on a failure to comply with
 5    [Touhy]. I don’t believe the defendant has to comply with [Touhy].” See e.g., Trial Tr.
 6    (8/3/21, Vol. 1) p. 6. The Court reconsidered its prior Order and vacated its prior ruling
 7    that quashed the prior subpoenas related to Special Agents James Kim, Ryan Roberson
 8    and Remoun Karlous. See e.g., Trial Tr. (8/3/21, Vol. 1) p. 6.
 9          Later on August 3, 2021, Mr. Avenatti made an oral motion for a mistrial as a
10    result of a violation of Federal Rule of Evidence 615. See e.g., Trial Tr. (8/3/21, Vol. 1)
11    p. 19. Mr. Avenatt stated, “We made a motion at the beginning of trial for witness
12    exclusion, and in particular we asked that the rule be followed. Your Honor allowed the
13    agents to remain in the courtroom, all three agents. We can provide a filing to the Court,
14    all three agents have been in this courtroom this entire trial. Under Kyles v. Whitley, it is
15    a principal defense of mine relating to the sloppiness of this investigation. And these
16    agents, all three of them -- Mr. [Karlous], Mr. Roberson, and Mr. Kim -- have been
17    sitting in this courtroom listening to the testimony. They should have been excluded
18    pursuant to 615. The subpoenas should have never been quashed for the reasons they
19    were quashed, and therefore I’m making a motion for mistrial. And in the alternative, I
20    want them excluded from the courtroom.” See e.g., Trial Tr. (8/3/21, Vol. 1) p. 19-20.
21    The Court ruled, “At this point the Court declined to exclude them prior to the motion
22    for reconsideration. It was proper. I reconsidered. Those agents will be excluded except
23    Agent [Karlous], who is the government’s chief agent. It’s appropriate that he be here.
24    The others given that I’ve reinstated the screens will be excluded. The motion for
25    mistrial is denied.” See e.g., Trial Tr. (8/3/21, Vol. 1) p. 20.
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 1    II.   LEGAL STANDARD
 2          The Court’s failure to exclude Special Agents Kim and Roberson at the beginning
 3    of the trial testimony was highly prejudicial and constitutes a violation of Mr. Avenatti’s
 4    right to due process as guaranteed under the Constitution. “It is the law of this circuit
 5    that ‘when a court fails to comply with Rule 615, prejudice is presumed and
 6    reversal is required unless it is manifestly clear from the record that the error was
 7    harmless or unless the prosecution proves harmless error by a preponderance of
 8    the evidence.’ United States v. Ell, 718 F.2d 291, 293-94 (9th Cir. 1983).” United
 9    States v. Brewer, 947 F.2d 404, 408 (9th Cir. 1991) (emphasis added). Here, the
10    government purposely led the Court to commit reversible error and then, knowing that
11    error had occurred, compounded their misconduct and the prejudice to the defendant by
12    insisting that the agents remain in the courtroom to listen to seven days of trial
13    testimony. This was improper.
14          Rule 615 of the Federal Rules of Evidence requires that: "[a]t a party's request, the
15    court must order witnesses excluded so that they cannot hear other witnesses’ testimony.
16    The rule, which traces its origins to Biblical times, seeks to preserve evidence’s integrity
17    by preventing one witnesses' testimony from influencing another witness's statements.
18    See, e.g., Perry v. Leeke, 488 U.S. 272, 281-82 (1989)(“[W]itnesses may be sequestered
19    to lessen the danger that their testimony will be influenced by hearing what other
20    witnesses have to say, and to increase the likelihood that they will confine themselves to
21    truthful statements based on their own recollections.”); United States v. McGirr, 660 F.
22    App’x 685, 690 (10th Cir. 2016)(“‘The purpose of the rule is to prevent one witness
23    from shaping his testimony to match that given by other witnesses at the trial.’”
24    (quoting Tasty Baking Co. v. N.L.R.B., 254 F.3d 114, 122-23 (D.C. Cir. 2001)); United
25    States v. Salcido Luzania, 173 F.3d 865, 1999 WL 176130, at *5 (10th Cir.
26    1999)(unpublished table opinion)("The rule's purpose is obvious -- to prevent the
27    shaping of testimony by hearing what other witnesses say." (citing Taylor v. United
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 1    States, 388 F.2d 786, 788 (9th Cir. 1967)); Opus 3 Ltd. v. Heritage Park, Inc., 91, F.3d
 2    625, 628 (4th Cir. 1996)(“The rule is designed to discourage and expose fabrication,
 3    inaccuracy, and collusion.” (citing Rule 615 advisory committee's note; United States v.
 4    Leggett, 326 F.2d 613, 613 (4th Cir. 1964)); United States v. Shurn, 849 F.2d 1090, 1094
 5    (8th Cir. 1988)(“The practice of excluding witnesses serves to prevent them from
 6    tailoring their testimony to that which has already been presented, and helps to detect
 7    testimony that is less than candid.” (citing United States v. Perry, 815 F.2d 1100, 1105
 8    (7th Cir. 1987))).
 9          The rule is grounded in long-standing common law legal traditions advancing the
10    same purposes. See, e.g., United States v. Williams, 136 F.3d 1166, 1168-69 (7th Cir.
11    1998)(“The rule codified a well-established common law tradition of sequestering
12    witnesses “‘as a means of discouraging and exposing fabrication, inaccuracy, and
13    collusion.’” (citing United States v. Jackson, 60 F.3d 128, 133 (2d Cir. 1995))); United
14    States v. Jackson, 60 F.3d at 133 (“The Supreme Court observed that this practice, which
15    goes back to ‘our inheritance of the common Germanic law,’ serves two purposes: it
16    ‘exercises a restraint on witnesses ‘tailoring’ their testimony to that of earlier witnesses;
17    and it aids in detecting testimony that is less than candid.’” (quoting Geders v. United
18    States, 425 U.S. 80, 87 (1976))); Frideres v. Schiltz, 150 F.R.D. 153, (S.D. Iowa
19    1993)(Bennett, M.J.)(tracing witness sequestration to Biblical times).
20          Rule 615 expands on the long-standing common law by making witness
21    sequestration a matter of right when a party requests sequestration within the rule’s
22    scope. See Fed. R. Evid. 615 advisory committee's notes (“The authority of the judge is
23    admitted, the only question being whether the matter is committed to his discretion or
24    one of right. The rule takes the latter position. No time is specified for making the
25    request.”); United States v. Seschillie, 310 F.2d 1208, 1213 n.3 (9th Cir. 2002)(“Because
26    Rule 615 states that the court, at the request of a party, shall order witnesses excluded,
27    ‘[t]he rule makes the exclusion a matter of right and the decision is no longer committed
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 1    to the court's discretion as it once was.’” (emphasis in United States v.
 2    Seschillie)(quoting United States v. Brewer, 947 F.2d 404, 408 (9th Cir. 1991); and
 3    citing United States v. Ell, 718 F.2d 291, 293-94 (9th Cir. 1983))).
 4
 5    III.   ARGUMENT
 6           The government led the Court to commit reversible error when it requested that
 7    the Court rely on Touhy when it was on notice for two weeks prior that Touhy did not
 8    apply in a criminal case. Indeed, in connection with the subpoena of agents out of the
 9    Southern District of New York, AUSA Sagel objected via email to the lawfulness of the
10    subpoenas and cited Touhy. In response, on July 6, 2021, advisory counsel H. Dean
11    Steward sent AUSAs Sagel and Wyman an e-mail alerting them that Touhy regulations
12    “are not applicable in a criminal case in the Ninth Circuit.” See, e.g., Exhibit A (E-mail
13    Correspondence). Counsel even specifically directed the government to United States v.
14    Bahamonde, 445 F.3d 1225 (9th Cir. 2006) and requested contrary authority. See id. But
15    no such contrary authority was provided. Instead, two weeks later, the government
16    proceeded to lead the Court astray by urging the Court to quash the subpoenas for failure
17    to comply with Touhy, knowing full well that on-point Ninth Circuit authority was
18    directly contrary to their position. To make matters worse, they did so without alerting
19    the Court to Bahamonde.
20           The Court, relying on the government’s Touhy objections and their presumed good
21    faith, proceeded to quash the subpoenas related to Special Agent Kim and Special Agent
22    Roberson. The government then proceeded to have the agents remain in the courtroom
23    and listen to the trial testimony of Carlos Colorado, Tom Goeders, Elsa Guerrero,
24    Thomas Hurrell, Geoffrey Johnson, Patrick McNicholas, Judy Regnier, Nshan Taschyan,
25    Joel Weiner, Joseph Varani, and a portion of the testimony of Alexis Gardner. Both
26    Agents Kim and Roberson had the luxury of listening to the testimony of these witnesses
27    prior to being called as witnesses in Mr. Avenatti’s defense case, including questions
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 1    relating to the scope and conduct surrounding the government’s investigation (i.e. Kyles
 2    v. Whitley related inquiry). This is precisely the type of situation that Rule 615 was
 3    created to avoid. Mr. Avenatti is now forced to choose between calling Special Agent
 4    Kim and Special Agent Roberson with knowledge that they have been privy to the
 5    testimony of 11 government witnesses or forgo calling them as witnesses all together
 6    despite their extensive work on both the investigation and preparation of this case. This
 7    dilemma results from the government’s misconduct and is highly prejudicial.
 8          A mistrial is the only appropriate remedy under these facts. The government led
 9    the Court to commit reversible error when it relied on Touhy despite knowing that the
10    Ninth Circuit had determined that the defendant need not comply with the provisions of
11    Touhy in order to effectuate a proper subpoena of a federal agent. The government then
12    purposely compounded the error and the prejudice to the defendant by insisting on
13    having the agents in the courtroom for the testimony of 11 government witnesses. Mr.
14    Avenatti should not have been put in a position where he is forced to decide between
15    calling an agent that has been privy to the testimony of eleven government witnesses or
16    forgo his examination of these witnesses all together. Having purposely violated Rule
17    615 and interfered with Mr. Avenatti’s right to due process, prejudice is presumed under
18    Ninth Circuit authority and a mistrial should be granted.
19
20    IV.   CONCLUSION
21          For each of the reasons stated above, defendant respectfully requests that the
22    Court grant the motion for a mistrial.
23
       Dated: August 11, 2021                    Respectfully submitted,
24
25                                              /s/ Michael J. Avenatti
26                                               Defendant
                                                 MICHAEL JOHN AVENATTI
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                                     EXHIBIT A
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 1
 2                                 CERTIFICATE OF SERVICE
 3
            I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 4
 5    age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.

 6    I am not a party to the above-entitled action. I have caused, on August 11, 2021, service
 7
      of the:
 8
            DEFENDANT’S MOTION FOR MISTRIAL DUE TO PURPOSEFUL
 9        GOVERNMENTAL VIOLATIONS OF FEDERAL RULE OF EVIDENCE 615
10
      on the following party, using the Court’s ECF system:
11
      AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
12
13    I declare under penalty of perjury that the foregoing is true and correct.
14
      Executed on August 11, 2021
15
16                                            /s/ H. Dean Steward
17                                            H. Dean Steward
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